                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:10-CR-00238-RJC
USA                                               )
                                                  )
   v.                                             )                    ORDER
                                                  )
MILTON EARL ADAMS (9)                             )
                                                  )

        THIS MATTER is before the Court on the defendant’s pro se motions for a hearing

regarding his plea, (Doc. No. 568), and to withdraw his plea, (Doc. No. 578).

        The defendant is currently represented by counsel. (Doc. No. 548: Appointment of

Counsel). Local Criminal Rule 47.1(H) requires motions to be filed by counsel unless a

defendant has formally waived his right to counsel in the presence of a judicial officer.

        IT IS, THEREFORE, ORDERED, that the defendant’s pro se motions for a hearing on

his plea and to withdraw his guilty plea are DENIED without prejudice to be pursued by counsel

if deemed advisable.

        The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney.

                                                        Signed: June 6, 2013




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